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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


KOSHY MATHEWS MATHAI,                           §
                                                §
               Plaintiff,                       §
                                                §
       v.                                       §            Case No. 6:24-cv-00612-ADA-JCM
                                                §
UNITED STATES OF AMERICA,                       §
                                                §
               Defendant.                       §


                            DEFENDANT’S MOTION TO DISMISS

       This case concerns Plaintiff Koshy Mathews Mathai’s negotiations regarding the terms of

employment and compensation with the Department of Veteran’s Affairs (“VA”). In his

Complaint, Mathai asserts a single claim under the Federal Tort Claims Act (“FTCA”) for

intentional infliction of emotional distress based on allegations that the VA did not reinstate a

recruitment bonus following his initial two years of employment as allegedly represented during

the recruitment process. See Compl. ¶¶ 7, 10, ECF No. 1. The United States, however, has not

waived sovereign immunity for tort claims arising out of a misrepresentation, and to the extent

Plaintiff’s claim sounds in contract, the Court of Federal Claims has exclusive jurisdiction.

Mathai’s Complaint should thus be dismissed.

                                           Background

       Mathai’s Complaint is based on discussions concerning his employment with the VA. In

2019, Mathai was tentatively selected for a Physician (Pain Management) position at the VA

Central Texas Health Care System. Compl. ¶¶ 20, 25, ECF No. 1. Mathai claims that during the

recruitment process for this position, he was offered a $50,000 recruitment incentive for his first

two years of employment. Id. ¶ 17. Mathai also alleges that he was told in a phone call conversation
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that a “retention bonus” was “likely but not promised” beyond his first two years. See id. ¶¶ 17,

29-30. Mathai states that Dr. Olawale Fashina, Chief of Staff of the Central Texas VA, informed

Mathai that he could not promise that the two-year incentive would continue beyond Mathai’s first

two years of employment. See id. ¶¶ 16-17. Mathai further alleges that he followed up with Dr.

Fashina by e-mail to confirm his understanding that “after the first two years, the $25,000 per year

may typically be continued by way of retention bonus, although you cannot contractually commit

to this in the setting/structure of the recruitment bonus as per any initial employment offer.” Id.

¶ 34. Mathai says he did not receive a response. Id. Dr. Fashina ultimately recommended Mathai

for a $25,000 annual recruitment bonus for two years. See id. ¶ 35. And Mathai accepted the offer

to join the VA Central Texas Health Care System in December 2019. See id. ¶¶ 43-47.

         After he passed his two-year probation period and became a permanent employee, the

“recruitment incentive” was not processed as a “retention incentive”. See id. ¶¶ 17, 56-57, ECF

No. 1; Compl. Exh. 28, ECF No. 1-2, at 43-45 (noting that pay reviews occur every two years and

that recruitment bonuses are “not always approved” and explaining that there is no “retention

bonus”). Mathai claims that he would not have accepted employment with the VA had he known

that the incentive would not continue beyond the initial two year period. See Compl. ¶¶ 7, 17, ECF

No. 1.

         Mathai asserts a single claim for the intentional infliction of emotional distress based on

Dr. Fashina’s failure to correct any misunderstanding regarding Mathai’s terms of employment in

response to his e-mail inquiry. Id. ¶ 18. Mathai seeks to recover $20,000,000 (twenty million

dollars) in compensatory damages for emotional distress, mental anguish, and related harm

because the recruitment incentive was not paid beyond his initial two-year employment term. See

id. at 20.



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                                           Legal Standard

I.      Rule 12(b)(1)

        “Federal courts are courts of limited jurisdiction; without jurisdiction conferred by statute,

they lack the power to adjudicate claims.” In re FEMA Trailer Formaldehyde Prods. Liab. Litig.,

(Miss. Pls.), 668 F.3d 281, 286 (5th Cir. 2012). “Under Rule 12(b)(1), a claim is ‘properly

dismissed for lack of subject-matter jurisdiction when the court lacks the statutory or constitutional

power to adjudicate’ the claim.” Id. (quoting Home Builders Ass’n, Inc. v. City of Madison, 143

F.3d 1006, 1010 (5th Cir. 1998)). “The party asserting jurisdiction has the burden of establishing

it.” McMahon v. Fenves, 946 F.3d 266, 270 (5th Cir. 2020). Where jurisdiction is challenged, a

court “is free to weigh the evidence and resolve factual disputes in order to satisfy itself that it has

the power to hear the case.” Montez v. Dep’t of Navy, 392 F.3d 147, 149 (5th Cir. 2004).

        “It is axiomatic that the United States may not be sued without its consent and that the

existence of consent is a prerequisite to jurisdiction.” United States v. Mitchell, 463 U.S. 206, 212

(1983). “Absent a waiver, sovereign immunity shields the Federal Government and its agencies

from suit.” F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994). As plaintiff, Mathai “bear[s] the burden

of showing Congress’s unequivocal waiver of sovereign immunity.” Spotts v. United States, 613

F.3d 559, 568 (5th Cir. 2010). “Courts must strictly construe all waivers of the federal

government’s sovereign immunity, and must resolve all ambiguities in favor of the sovereign.”

Linkous v. United States, 142 F.3d 271, 275 (5th Cir. 1998).

II.     Rule 12(b)(6)

        This Court may dismiss a complaint for “failure to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

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570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. The complaint need not contain detailed factual allegations, but it must include sufficient

factual allegations, assumed to be true, “to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. Although “pro se complaints are held to less stringent standards than

formal pleadings drafted by lawyers,” a pro se plaintiff must still “plead enough facts to state a

claim to relief that is plausible on its face.” Champion v. United States, 421 F. App’x 418, 423 (5th

Ci. 2011) (quoting Bustos v. Martini Club Inc., 599 F.3d 458, 461-61 (5th Cir. 2010). “Threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Iqbal, 556 U.S. at 678.

                                    Argument & Authorities

       This Court lacks jurisdiction over Mathai’s single claim for the intentional infliction of

emotional distress (“IIED”). Mathai’s claim is based on an alleged misrepresentation by Dr.

Fashina regarding the availability of a retention incentive following his initial two years of

employment. But the FTCA does not waive sovereign immunity for claims arising out of a

misrepresentation or deceit. Moreover, sovereign immunity is not waived under the FTCA because

Mathai fails to state an IIED claim under Texas law. Finally, to the extent Mathai’s Complaint can

be liberally construed to assert a non-tort claim, the Court of Federal Claims has exclusive

jurisdiction. Accordingly, Mathai’s Complaint should be dismissed.

I.     This Court lacks jurisdiction because Mathai fails to show a waiver of sovereign
       immunity for Mathai’s IIED claim under the FTCA.

       Mathai has not shown a waiver of sovereign immunity for his tort claim. “[A] suit against

the United States under the FTCA is the exclusive remedy for tort claims arising from the actions

of government agencies or employees.” Galvin v. Occupational Safety & Health Admin., 860 F.2d


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181, 183 (5th Cir. 1988) (citing 28 U.S.C. § 2679(a)). Subject to exceptions, the FTCA is a limited

waiver of sovereign immunity for tort claims against the United States seeking money damages

for negligent or wrongful acts by government employees acting within the scope of their

employment, “under circumstances where the United States, if a private person, would be liable to

the claimant in accordance with the law of the place where the act or omission occurred.” 28 U.S.C.

§ 1346(b)(1). “[W]hether the United States has waived sovereign immunity pursuant to the FTCA

goes to the court’s subject-matter jurisdiction, . . . and may therefore be resolved on a Rule 12(b)(1)

motion to dismiss.” Willoughby v. United States ex. rel. U.S. Dep’t of the Army, 730 F.3d 476, 479

(5th Cir. 2013) (citations omitted). Here, the Court lacks subject matter jurisdiction because

Mathai’s IIED claim ultimately arises from an alleged misrepresentation and because Mathai fails

to state an IIED claim under Texas law.

       A.      Immunity is not waived for tort claims arising out of a misrepresentation.

       First, Mathai’s IIED claim arises from an alleged misrepresentation and is thus barred by

sovereign immunity. The FTCA’s “intentional tort exception” preserves immunity for “[a]ny claim

arising out of . . . misrepresentation, deceit, or interference with contract rights.” 28 U.S.C.

§ 2680(h). “The FTCA’s misrepresentation exception is broad: it bars any claim arising out of a

misrepresentation—even if the conduct underlying the claim may also constitute a tort not barred

by section 2680(h).” Life Partners Inc. v. United States, 650 F.3d 1026, 1032 (5th Cir. 2011). “The

exception applies to both negligent and intentional misrepresentations, as well as to both

affirmative acts and omissions of material fact.” Metro. Life Ins. Co. v. Atkins, 225 F.3d 510, 512

(5th Cir. 2000). Moreover, a tort claim is barred “when the underlying governmental conduct

‘essential’ to the plaintiff’s claim can fairly be read to ‘arise out of’ conduct that would establish

an excepted cause of action.” Truman v. United States, 26 F.3d 592, 593 (5th Cir. 1994) (quoting

McNeily v. United States, 6 F.3d 343, 347 (5th Cir. 1993)).
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       To determine whether the intentional tort exception applies, courts “determine whether ‘the

chain or causation’ from the alleged negligence to the injury depends upon a misrepresentation by

a government agent.” In re FEMA Trailer Formaldehyde Prods. Liab. Litig. (La. Pls.), 713 F.3d

807, 811 (5th Cir. 2013) (quoting Life Partners, 650 F.3d at 1031); see also Baroni v. United

States, 662 F.2d 287, 289 (5th Cir. 1981) (affirming dismissal where damages resulted “solely

from the fact that the government communicated its miscalculation to the developer who relied on

it, and that reliance eventually caused the plaintiffs’ damage”). In Life Partners, plaintiffs

purchased an employee’s life insurance policy after the government assured them that the policy

had not been previously assigned to another party. Id. at 1028-29. But that representation was false;

the policy had already been assigned and documented in personnel records. See id. at 1029. The

Fifth Circuit applied the intentional tort exception and rejected plaintiffs’ argument that their

negligence claim was based on a failure to adequately examine records, explaining that the injury

was instead based on plaintiffs’ reliance on the government’s misrepresentations. Id. at 1033. In

short, an alleged injury arises from a misrepresentation, and is thus barred by the intentional tort

exception, where a plaintiff would have suffered no injury absent the misrepresentation.

       Here too, Mathai’s IIED claim depends on the transmission of alleged misinformation

concerning his future compensation by a government agent, Dr. Fashina. Mathai alleges that Dr.

Fashina offered a $50,000 Recruitment Incentive for Mathai’s first two years of employment.

Compl. ¶ 17, ECF No. 1. Mathai says that he would not accept an employment offer unless the

incentive was continued beyond the first two years. See id. ¶ 17, 58. And he states that, although

Dr. Fashina told Mathai that “it is typical for the Recruitment incentive to be continued” as a

retention incentive, Dr. Fashina “could not promise” that to Mathai. Id. ¶ 17. Mathai alleges that

he attempted to confirm these details with Dr. Fashina by e-mail, and invited Dr. Fashina to correct



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any misunderstanding. See id. ¶ 34. Mathai, however, says that he did not receive a response, nor

did he receive an incentive after his initial two years of employment. See id. ¶ 17-18, 57. Mathai

thus alleges that Dr. Fashina made a “material omission” in violation of VA policy to promptly

reply to e-mails, and as a result, Mathai suffered “severe emotional distress” by accepting

employment with the VA based on his discussion with Dr. Fashina. See id. ¶¶ 8-10, 13-14. These

allegations are consistent with claims for negligent misrepresentation1 or fraudulent inducement,2

both of which include a false representation among their elements. Claims arising from

“misrepresentation” or “deceit,” however, are excluded from the FTCA’s waiver of sovereign

immunity.

       It makes no difference that Mathai labels his claim for intentional infliction of emotional

distress, or that he describes his claim as a failure to exercise due care in promptly responding to

e-mail. See Compl. ¶¶ 7-8, 10, 12-14, ECF No. 1. What matters is whether the substance of

Mathai’s allegations arise out of a misrepresentation—courts “look to the underlying conduct

rather than the [plaintiff’s] pleading.” FEMA Trailer Formaldehyde Prods. Litig. (La. Pls.), 713

F.3d at 811 (holding that claims for gross negligence for FEMA’s alleged material omission of

formaldehyde risk fall under the misrepresentation exception); see also, e.g., Donnelly Inv. Secs.


1
  To state a negligent misrepresentation claim, a plaintiff must show: “(1) the representation is
made by a defendant in the course of his business, or in a transaction in which he has a pecuniary
interest; (2) the defendant supplies ‘false information’ for the guidance of others in their business;
(3) the defendant did not exercise reasonable care or competence in obtaining or communicating
the information; and (4) the plaintiff suffers a pecuniary loss by justifiably relying on the
representation.” Margolis v. James B. Nutter & Co., 808 F. App’x 230, 234 (5th Cir. 2020) (per
curiam) (quoting Fed. Land Bank Ass’n v. Sloane, 825 S.W.2d 439, 442 (Tex. 1991)).
2
  “[A] fraudulent-inducement claim requires proof that: (1) the defendant made a material
misrepresentation; (2) the defendant knew at the time that the representation was false or lacked
knowledge of its truth; (3) the defendant intended that the plaintiff should rely or act on the
misrepresentation; (4) the plaintiff relied on the misrepresentation; and (5) the plaintiff’s reliance
on the misrepresentation caused injury.” Int’l Bus. Machines Corp. v. Lufkin Indus., LLC, 573
S.W.3d 224, 228 (Tex. 2019).

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Corp. v. FDIC, No. 3:96-CV-2730-R, 1998 WL 460289, at *3 (N.D. Tex. Aug. 5, 1998)

(concluding that the FDIC is immune for breach-of-contract claim that “is at base a claim for the

tort of negligent misrepresentation”); Covington v. United States, 303 F. Supp. 1145, 1149 (N.D.

Miss. 1969) (“[I]t was defendant’s alleged misrepresentations which induced plaintiffs’ reliance

thereon, giving rise to their tort claim, and whether plaintiffs style their cause of action fraudulent

inducement or otherwise, it still bottoms on alleged factual misrepresentations and is barred by

2680(h).”). Here, the substance of Mathai’s IIED claim arises out of his reliance on an alleged

misrepresentation: Mathai claims that, based on his communications with Dr. Fashina, he expected

to receive a retention incentive beyond his first two years of employment. See Compl. ¶¶ 14-18,

ECF No. 1.

       These allegations squarely fit the description of fraudulent inducement. “In a fraudulent-

inducement claim, the ‘misrepresentation’ occurs when the defendant falsely promises to perform

a future act while having no present intent to perform it.” Int’l Bus. Machines Corp., 573 S.W.3d

at 228. And “[t]he plaintiff’s ‘reliance’ on the false promise ‘induces’ the plaintiff to agree to a

contract the plaintiff would not have agreed to if the defendant had not made the false promise.”

Id. They also align with how the Supreme Court has defined negligent misrepresentation claims:

the failure “to use due care in obtaining and communicating information upon which that party

may reasonably be expected to rely in the conduct of his economic affairs.” United States v.

Neustadt, 366 U.S. 696, 706 (1961). Mathai’s claim—however labeled—arises from an alleged

misrepresentation, and thus is barred by the intentional tort exception.

       B.      Mathai fails to state an IIED claim under Texas law.

       Mathai’s Complaint should also be dismissed because he fails to state an IIED claim under

Texas law. The FTCA waives sovereign immunity only “under circumstances where the United

States, if a private person, would be liable to the claimant in accordance with the law of the place
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where the act or omission occurred.” 28 U.S.C. § 1346(b)(1). The FTCA’s “reference to ‘law of

the place’ means law of the State”—here, Texas. Meyer, 510 U.S. at 478. The failure to state a

claim under state law deprives the Court of subject-matter jurisdiction under the FTCA. See

Brownback v. King, 592 U.S. 209, 218 (2021) (“Because King’s tort claims failed to survive a

Rule 12(b)(6) motion to dismiss, the United States necessarily retained sovereign immunity, also

depriving the court of subject-matter jurisdiction.”). This Court may thus exercise subject matter

jurisdiction only if Texas law would impose tort liability on a private person for the alleged

wrongful acts.

       Mathai asserts a single claim for intentional infliction of emotional distress. See Compl.

¶¶ 7, 10, ECF No. 1. Under Texas law, a plaintiff asserting an IIED claim must allege: “(1) the

defendant acted intentionally or recklessly; (2) the defendant’s conduct was extreme and

outrageous; (3) the defendant’s actions caused the plaintiff emotional distress; and (4) the

emotional distress suffered by the plaintiff was severe.” Wal-Mart Stores, Inc. v. Canchola, 121

S.W.3d 735, 740 (Tex. 2003) (quoting Morgan v. Anthony, 27 S.W.3d 928, 929 (Tex. 2000)).

“Meritorious claims for intentional infliction of emotional distress are relatively rare precisely

because most human conduct, even that which causes injury to others, cannot be fairly

characterized as extreme and outrageous.” Kroger Tex. Ltd. P’ship v. Suberu, 216 S.W.3d 788,

796 (Tex. 2006). Indeed, IIED claims rarely have merit “except in circumstances bordering on

serious criminal acts.” Creditwatch, Inc. v. Jackson, 157 S.W.3d 814, 818 (Tex. 2005). This Court

lacks jurisdiction over Matha’s IIED claim because Texas law does not recognize an IIED claim

where allegations support another recognized tort, and Mathai fails to state an IIED claim under

Texas law.




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               1.      Mathai cannot resort to a standalone IIED claim based on the
                       allegations in his Complaint.

       First and foremost, Texas law does not permit an IIED claim based on the allegations in

Mathai’s Complaint. IIED is a “gap-filler” tort, “allowing recovery in those rare instances in which

a defendant intentionally inflicts severe emotional distress in a manner so unusual that the victim

has no other recognized theory of redress.” Hoffman-La Roche, Inc. v. Zeltwanger, 144 S.W.3d

438, 447 (Tex. 2004). But “[w]here the gravamen of a plaintiff’s complaint is really another tort,

intentional infliction of emotional distress should not be available.” Id. Properly limited, “the tort

simply has no application when the ‘actor “intends to invade some other legally protected interest,”

even if emotional distress results.’” Id. (citation omitted); see also Miller v. Target Corp., 854 F.

App’x 567, 569-70 (5th Cir. 2021) (concluding that IIED is unavailable where the allegations

supported claims for defamation and malicious prosecution); Creditwatch, Inc. v. Jackson, 157

S.W.3d 814, 816 (Tex. 2005) (explaining that plaintiff could not resort to an IIED claim where her

complaints are covered by other remedies, even if barred). As explained above, the gravamen of

Mathai’s Complaint is negligent misrepresentation by omission. See supra Section I.A; see also,

e.g., Compl. ¶ 8, ECF No. 1 (alleging that Dr. Fashina “failed to exercise due care, and in doing

so made material omission(s)”). Accordingly, Mathai cannot recover for IIED.

               2.      Dr. Fashina’s failure to respond to an e-mail is not sufficiently “extreme
                       and outrageous” to state an IIED claim.

       Additionally, the conduct alleged in Mathai’s Complaint does not satisfy the high threshold

for extreme and outrageous behavior required to state an IIED claim. “A defendant’s conduct is

‘extreme and outrageous’ if it is ‘so outrageous in character, and so extreme in degree, as to go

beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in

a civilized community.’” Grost v. United States, 648 F. App’x 459, 461 (5th Cir. 2016) (quoting

Twyman v. Twyman, 855 S.W.2d 619, 621 (Tex. 1993)). “Conduct that is merely rude or

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insensitive or that amounts to ‘mere insults, indignities, threats, annoyances, petty oppressions, or

other trivialities’ does not rise to the level of ‘extreme and outrageous conduct.’” Id. (quoting GTE

Sw., Inc. v. Bruce, 998 S.W.2d 605, 612 (Tex. 1999)). “[I]t is the province of the court to determine

whether a defendant’s conduct may reasonably be regarded as extreme and outrageous enough to

permit recovery.” Atkinson v. Denton Publishing Co., 84 F.3d 144, 151 (5th Cir. 1996).

       This is a demanding standard. For example, rude, insensitive, and demeaning remarks do

not rise to the level of “extreme and outrageous.” See, e.g., Grost, 648 F. App’x at 462 (concluding

that trying to make plaintiff change her job, chastising her, calling her names, and refusing to shake

her hand might be rude or insulting, but they did not rise to the level of “extreme and outrageous”

conduct under Texas law); Williams v. Shell Expl. & Prod. Co.–Americas, No. 14-13-00309-CV,

2014 WL 3555741, at *4-5 (Tex. App.—Houston [14th Dist.], July17, 2014, no pet.) (mem. op.)

(concluding that remarks over a six-month period, like telling the plaintiff to “shut up” unless

given permission to speak and beckoning her “like a dog,” might be rude and insulting, but they

were not terrorizing, threatening, and assaultive). Similarly, courts have concluded that allegations

that the VA deleted a plaintiff’s e-mail to conceal information did not met the “extreme and

outrageous conduct” threshold. See Smart v. United States, No. 3:23-cv-00319-KC-LS, 2023 WL

11839341, at *2 (W.D. Tex. Oct. 5, 2023) (Schydlower, Mag. J.).

       Rather, cases in which courts have found the threshold met involve patterns of harassing,

abusive, or near-criminal conduct. See, e.g., GTE Sw., 998 S.W.2d at 613-14. In GTE Southwest,

for example, the Texas Supreme Court found the “extreme and outrageous” element met where a

supervisor engaged in a pattern of abusive and harassing conduct, including the daily use of harsh

vulgarities, frequent physical and verbal assaults, and repeatedly calling an employee into his

office to stare at her for extended periods of time. Id. Similarly, in Dean v. Ford Motor Credit Co.,



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885 F.2d 300, 307 (5th Cir. 1989), the Fifth Circuit concluded that the standard was met where a

supervisor placed checks in an employee’s purse and accused her of stealing.

        Here, Mathai’s allegations fall short of extreme and outrageous conduct. Mathai faults Dr.

Fashina for failing to promptly reply to his e-mail question confirming his compensation. Compl.

¶¶ 8-10, ECF No. 1; see also id. ¶ 7 (“This claim is for Intentional Infliction of Emotional Distress,

which rests on the Chief of Staff of the Central Texas VA, Dr. Olawale Fashina, not responding to

my e-mail on August 22, 2019.” (emphasis omitted)). Mathai alleges that he suffered severe

emotional distress as a result of Dr. Fashina’s failure to ensure prompt replies to queries. See id.

¶¶ 7, 14, 18. But Mathai does not allege that Dr. Fashina engaged in criminal, abusive, or assaultive

behavior. Although it may be frustrating, failing to respond to an e-mail hardly amounts to “utterly

intolerable” conduct in a civilized community.

II.     The Court of Federal Claims has exclusive jurisdiction over any non-tort claim.

        To the extent Mathai’s Complaint can be liberally construed to assert a non-tort claim based

in contract, this Court lacks jurisdiction. Rather, the Court of Federal Claims has exclusive

jurisdiction over any such claim, and the Complaint should be dismissed.

        The Tucker Act provides that the Court of Federal Claims has jurisdiction to “render

judgment upon any claim against the United States founded . . . upon any express or implied

contract with the United States, or for liquidated or unliquidated damages in cases not sounding in

tort.” See 28 U.S.C. § 1491(a)(1). Under the Little Tucker Act, district courts have concurrent

jurisdiction with the Court of Federal Claims over such claims only if the damages claimed do not

exceed $10,000. See 28 U.S.C. § 1346(a)(2). Where the claimed damages exceed $10,000,

however, jurisdiction lies exclusively with the Court of Federal Claims. See 28 U.S.C. §1491(a)(1);

Patterson v. Spellings, 249 F. App’x 993, 995 (5th Cir. 2007); Amoco Prod. Co. v. Hodel, 815

F.2d 353, 358 (5th Cir. 1987).
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       Mathai cannot avoid the Tucker Act by nominally re-characterizing his claim as a tort. See

Amoco Prod. Co. v. Hodel, 815 F.2d 353, 361 (5th Cir. 1987) (“Courts consistently endeavor to

‘pierce’ the pleadings so that artful pleading does not undercut the jurisdiction of the Claims Court

(that is, Congress’ intent in enacting the Tucker Act).”). In determining whether a claim is based

in tort or contract, the court is not bound by the parties’ characterizations of the complaint. See

City Nat’l Bank v. United States, 907 F.2d 536, 546 n.9 (5th Cir. 1990). And “claims which are

founded upon an alleged failure to perform contractual obligations are not tort claims that support

subject-matter jurisdiction under the [FTCA].” Davis v. United States, 961 F.2d 53, 56 (5th Cir.

1991); see also id. at 56-57 (affirming dismissal of wrongful conversion and tortious act claims

against the United States because they were predicated upon an alleged breach of a condition in a

promissory note); City Nat’l Bank, 907 F.2d at 546 (affirming dismissal of FTCA gross negligence

claim based on allegations that the FDIC failed to pay amounts owed on a promissory note);

Blanchard v. St. Paul Fire & Marine Ins., 341 F.2d 351, 357-58 (5th Cir. 1965) (affirming

dismissal of negligence claims that were “grounded essentially in contract” and explaining that

claims “founded upon an alleged failure to perform explicit or implicit contractual obligations” are

“not deemed ‘tort’ claims” under the FTCA). Where a tort claim is in fact based on the failure to

fulfill a contract obligation, jurisdiction is based on the Tucker Act, not the FTCA.

       Mathai asserts that “[t]his is not a case about benefits accruing to a contract,” Compl. ¶15,

ECF No. 1, but his claim is based on the alleged failure to fulfill an agreed-upon term of his

employment related to his compensation, see id. ¶¶ 16-18. Mathai alleges that he was entitled to

additional compensation based on representations made by Dr. Fashina and that the United States

is liable for the VA’s failure to pay Mathai a “Retention Incentive” after his initial two-year

“Recruitment Incentive.” See id. ¶¶ 17-18. Like the gross negligence, wrongful conversion, and



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tortious act claims in Davis and City National Bank, these claims are in essence based on an alleged

failure to fulfill a promise. See Davis, 961 F.2d at 56-57; City Nat’l Bank, 907 F.2d at 546. And

Mathai expressly seeks $20,000,000, far more than the $10,000 jurisdictional limit under the Little

Tucker Act. See Compl. 20, ECF No. 1. Accordingly, to the extent Mathai’s claim can be liberally

construed to assert a breach of contract or non-tort claim, the Court of Federal Claims has exclusive

jurisdiction, and Mathai’s Complaint should be dismissed.

                                            Conclusion

       For the foregoing reasons, this Court should dismiss Mathai’s Complaint, ECF No. 1, for

lack of subject matter jurisdiction.




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Dated: March 24, 2025                       Respectfully submitted,

                                            Margaret F. Leachman
                                            Acting United States Attorney

                                    By:     /s/ David B. Goode
                                            David B. Goode
                                            Assistant United States Attorney
                                            Texas Bar No. 24106014
                                            U.S. Attorney’s Office
                                            903 San Jacinto Blvd., Suite 334
                                            Austin, Texas 78701
                                            (512) 916-5850 (phone)
                                            (512) 916-5854 (fax)
                                            david.goode@usdoj.gov

                                            Attorneys for Defendant
                                            United States of America




                               CERTIFICATE OF SERVICE

       I certify that on March 24, 2025, I have mailed this document by United States Postal

Service to the following non-CM/ECF participant:

Koshy Mathai, M.D.
16325 Donoher Drive
Austin, Texas 78717


                                            /s/ David B. Goode
                                            David B. Goode
                                            Assistant United States Attorney




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